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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
      v.                                     :       Case No. 1:21-cr-00118-RCL
                                             :
ERIC MUNCHEL and                             :
LISA EISENHART,                       :
                                             :
                                             :
                      Defendants.            :

                          GOVERNMENT’S NOTICE OF FILING

       The United States of America, through its attorney, the United States Attorney for the

District of Columbia, respectfully files a copy of the Government’s first discovery letter (without

attachments) provided to defense counsel on March 4, 2021.



                                             Respectfully submitted,

                                             Channing D. Phillips
                                             Acting U.S. Attorney
                                             D.C. Bar No. 415793

                                      By:    /s/ Leslie A. Goemaat
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                                              /s/ Ahmed Baset
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                           /s/ Justin Sher
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I have caused a copy of the foregoing motion to be served
by electronic means, through the Court’s CM/ECF system, upon all parties of record.

                                        /s/ Leslie A. Goemaat
                                        L ESLIE A. G OEMAAT
                                        Assistant United States Attorney
